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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                                            CASE NO. 1:21-CV-00956
 WILLIAM ZIEGLER and VICKI ZIEGLER
                                                            HON. PAUL L. MALONEY
                   Plaintiffs,
                                                            MAGISTRATE JUDGE SALLY J.
            v.                                              BERENS

 POLARIS INDUSTRIES, INC. and
 ERIC KIPP

                   Defendants.


       STIPULATION AND ORDER TO EXTEND DEADLINE TO RESPOND TO
                             COMPLAINT

       In light of the recent holidays, Plaintiffs William Ziegler and Vicki Ziegler (“Plaintiffs”)

and Defendant Polaris Industries Inc. (“Polaris”), through their undersigned counsel, hereby

stipulate that the time for Polaris to answer, move, or otherwise respond to the Complaint be and

hereby is extended as follows:

       1.        Plaintiffs filed their Complaint against Polaris on November 10, 2021.

       2.        Polaris executed a Waiver of Service of the Summons, and its deadline to answer

or otherwise respond to the Complaint currently is January 10, 2022.

       3.        Polaris requests an extension of time up to and including February 9, 2022, in

which to answer, move, or otherwise respond to the Complaint.

       4.        The parties seek to document this extension via this Stipulation and Order and

respectfully request that the Court enter the below Order consistent with the Stipulation.

                                                      I stipulate to the agreement set forth above,

Dated: January 4, 2021                        By:     /s/ Anthony C. Sallah
                                                      Anthony C. Sallah (P84136)
                                                      BARNES & THORNBURG LLP
                                                      171 Monroe Avenue N.W., Suite 1000
                                                      Grand Rapids, MI 49503-2694
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                                         E: Anthony.Sallah@btlaw.com
                                         Counsel for Defendant Polaris Industries
                                         Inc.

                                         I stipulate to the agreement set forth above,

Dated: January 4, 2021             By:   /s/ Thomas M. Paris (per consent)
                                         Thomas M. Paris
                                         55 W. Monroe Street, Suite 3950
                                         Chicago, IL 60603
                                         T: (312) 759-1600
                                         F: (312) 201-1436
                                         E: tp@tomparislaw.com
                                         Counsel for Plaintiffs




                                  ORDER

       IT IS SO ORDERED.



Dated:__________________           ____________________________________
                                   HON. PAUL J. MALONEY
                                   United States District Judge




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